Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 1 of 12 PAGEID #: 1114




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 GUADALUPE VILLA-RODRIGUEZ,

        Petitioner,                                  Civ. No. 2:15-cv-02690
                                                     Crim. No. 2:10-cr-0225(4)
        v.                                           JUDGE ALGENON L. MARBLEY
                                                     Magistrate Judge King
 UNITED STATES OF AMERICA,

        Respondent.

                             REPORT AND RECOMMENDATION

        Petitioner, a federal prisoner, brings this motion to vacate, set aside or correct sentence

 pursuant to 28 U.S.C. § 2255. This matter is before the Court on Petitioner’s Motion to Vacate

 (ECF No. 247), Respondent’s Response (ECF No. 252),, and the exhibits of the parties. For the

 reasons that follow, the Magistrate Judge RECOMMENDS that this action be DISMISSED.

                                   Facts and Procedural History

        The United States Court of Appeals for the Sixth Circuit summarized the facts and

 procedural history of this case as follows:

        A federal grand jury charged Villa-Rodriguez and five co-defendants with various
        hostage-taking and firearm offenses arising out of the kidnapping of a woman and
        her two-year-old child due to her husband’s failure to pay a drug debt. Pursuant
        to a written plea agreement, Villa-Rodriguez, a Mexican citizen, pleaded guilty to
        possession of a firearm by an illegal alien in violation of 18 U.S.C. § 922(g)(5).
        Villa-Rodriguez’s presentence report set forth a guidelines range of 210 to 262
        months of imprisonment. Because that range exceeded the ten-year statutory
        maximum, the maximum became the guidelines sentence. See USSG § 5G1.1(a).
        The district court sentenced Villa-Rodriguez to 111 months of imprisonment.

        Villa-Rodriguez subsequently filed a motion to vacate, set aside, or correct his
        sentence under 28 U.S.C. § 2255, claiming in part that his counsel provided
        ineffective assistance by failing to file a notice of appeal. The district court
        granted Villa-Rodriguez’s motion on that claim, vacated the original judgment,
        and directed entry of a new judgment to allow the filing of this appeal.
Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 2 of 12 PAGEID #: 1115




 United States v. Guadalupe Villa-Rodriguez, No. 14-3214 (6th Cir. Jan. 14, 2015). See Notice

 (ECF No. 242). On appeal, Petitioner asserted, inter alia, that “there was an inadequate factual

 basis for his guilty plea.” Id. On January 14, 2015, the Court of Appeals affirmed Petitioner’s

 conviction and sentence. Id. On March 23, 2015, the United States Supreme Court denied

 Petitioner’s petition for a writ of certiorari. Villa-Rodriguez v. United States, No. 14-8405

 (U.S.S.Ct. Mar. 23, 2015). See Notice (ECF No. 246).

        Petitioner filed the current Motion to Vacate on August 5, 2015. He alleges that his guilty

 plea was not knowing, intelligent and voluntary because his attorney performed in a

 constitutionally ineffective manner by advising him to plead guilty when there was no factual

 basis to support the plea.

        I did not possess a firearm during the period I was illegally in the U.S. I never
        accepted possessing one during the plea hearing. I was in a home, not mine,
        where there were firearms but I did not possess them. Counsel coerced me to
        plead guilty because, he said: “There were sufficient elements of the crime.”
        During the reading of the factual basis at the plea hearing, it was never established
        that I possessed the firearm in any way. Had counsel informed me that there were
        no sufficient elements to be convicted of the charges I would not have pleaded
        guilty but gone to trial.

 Motion to Vacate (PageID# 1078). Respondent contends that Petitioner’s claim is without merit.

                                       Successive Petitions

        This is not Petitioner’s first motion to vacate under § 2255. See Motion to Vacate (ECF

 No. 140). Ordinarily, a second or successive motion to vacate may be pursued only if authorized

 by the Court of Appeals. 28 U.S.C. §§ 2244(b)(3)(A), 2255(h). However, not every numerically

 second motion to vacate or habeas corpus petition qualifies as a second or successive petition

 requiring authorization. In re Sims, 111 F.3d 45, 47 (6th Cir 1997); 28 U.S.C. § 2244(b).

        Whether a petition (a term we use interchangeably with “application”) is “second
        or successive” within the meaning of § 2244(b) does not depend merely on
        whether the petitioner filed a prior application for habeas relief. The phrase is

                                                 2
Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 3 of 12 PAGEID #: 1116




        instead “a ‘term of art’ that is ‘given substance’ by the Supreme Court's habeas
        cases.” In re Salem, 631 F.3d 809, 812 (6th Cir. 2011) (quoting Slack v.
        McDaniel, 529 U.S. 473, 486, 120 S.Ct. 1595, 146 L.Ed.2d 542 (2000)).
        Accordingly, in a number of cases, the Court has held that an application was not
        second or successive even though the petitioner had filed an earlier one. In
        Stewart v. Martinez–Villareal, 523 U.S. 637, 118 S.Ct. 1618, 140 L.Ed.2d 849
        (1998), the petitioner filed a second petition that presented a claim identical to one
        that had been included in an earlier petition. The claim had been unripe when
        presented in the earlier petition. The Court treated the two petitions as “only one
        application for habeas relief [.]” Id. at 643, 523 U.S. 637, 118 S.Ct. 1618, 140
        L.Ed.2d 849. In Panetti v. Quarterman, 551 U.S. 930, 127 S.Ct. 2842, 168
        L.Ed.2d 662 (2007), the Court held that an application that presented a claim that
        had not been presented in an earlier application, but that would have been unripe
        if it had been presented then, was not second or successive. Id. at 945, 551 U.S.
        930, 127 S.Ct. 2842, 168 L.Ed.2d 662. In Magwood v. Patterson, — U.S. —, 130
        S.Ct. 2788, 177 L.Ed.2d 592 (2010), the Court made clear that an application
        challenging an earlier criminal judgment did not count for purposes of
        determining whether a later application challenging a new judgment in the same
        case was second or successive. Id. at 2797–98.

 Storey v. Vasbinder, 657 F.3d 372, 376–77 (6th Cir. 2011). In Storey, the Sixth Circuit held that

 a habeas corpus petition filed after a remedial appeal, ordered in response to an earlier petition,

 does not constitute a successive petition even if it includes claims that could have been included,

 but were not, in the first petition. Id. at 377-78. Respondent does not characterize the current

 Motion to Vacate as a second or successive petition within the meaning of 28 U.S.C. §§

 2244(b)(3)(A), 2255(h). This Court concludes that the current Motion to Vacate is not subject to

 dismissal or transfer to the Sixth Circuit as a second or successive petition.

                                        Standard of Review

        In order to obtain relief under 28 U.S.C. § 2255, a petitioner must establish the denial of a

 substantive right or defect in the trial that is inconsistent with the rudimentary demands of fair

 procedure. United States v. Timmreck, 441 U.S. 780 (1979); United States v. Ferguson, 918 F.2d

 627, 630 (6th Cir. 1990) (per curiam). Relief under 28 U.S.C. § 2255 is available when a federal

 sentence was imposed in violation of the Constitution or laws of the United States or when the



                                                   3
Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 4 of 12 PAGEID #: 1117




 trial court lacked jurisdiction, when the sentence was in excess of the maximum sentence

 allowed by law, or when the judgment or conviction is “otherwise subject to collateral attack.”

 United States v. Jalili, 925 F.2d 889, 893 (6th Cir. 1991). However, “‘[a] § 2255 motion may not

 be used to relitigate an issue that was raised on appeal absent highly exception circumstances.’”

 DuPont v. United States, 76 F.3d 108, 110 (6th Cir. 1996)(quoting United States v. Brown, 62

 F.3d 1418 (6th Cir. 1995)(unpublished)).

                                   Petitioner’s Direct Appeal

        In his direct appeal, Petitioner asserted, inter alia, that “there was an inadequate factual

 basis for his guilty plea.” United States v. Guadalupe Villa-Rodriguez, No. 14-3214. Because

 that claim had not been raised before this Court, the Sixth Circuit reviewed the claim for plain

 error only:

        “Before entering judgment on a guilty plea, the court must determine that there is
        a factual basis for the plea.” Fed. R. Crim. P. 11(b)(3). “The purpose of this
        requirement is to ensure the accuracy of the plea through some evidence that a
        defendant actually committed the offense.” United States v. McCreary-Redd, 475
        F.3d 718, 722 (6th Cir. 2007) (internal quotation marks omitted). The district
        court may determine the existence of a factual basis from several sources,
        including witness testimony that is confirmed by the defendant. See United States
        v. Lalonde, 509 F.3d 750, 762 (6th Cir. 2007); McCreary-Redd, 475 F.3d at 722.
                 A conviction under 18 U.S.C. § 922(g)(5) requires the following elements:
        “(1) the defendant is an illegal alien, (2) he knowingly possessed the firearm, and
        (3) the firearm traveled in or affected interstate commerce.” United States v.
        Luna-Santillanes, 554 F. App’x 402, 409 (6th Cir. 2014). Villa-Rodriguez
        challenges only the factual basis for the possession element. A conviction under §
        922(g) “may be based on actual or constructive possession of a firearm.” United
        States v. Campbell, 549 F.3d 364, 374 (6th Cir. 2008). “Actual possession
        requires that a defendant have immediate possession or control of the firearm,
        whereas constructive possession exists when the defendant does not have
        possession but instead knowingly has the power and intention at a given time to
        exercise dominion and control over an object, either directly or through others.”
        Id. (internal quotation marks omitted).
                 The witness testimony presented by the government and confirmed by
        Villa-Rodriguez provided “some evidence” that he knowingly possessed a
        firearm. See United States v. Mobley, 618 F.3d 539, 547 (6th Cir. 2010) (noting
        the “quantum of information required to satisfy the Rule 11(b)(3) ‘factual basis’

                                                 4
Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 5 of 12 PAGEID #: 1118




        requirement for a guilty plea is lower” than that required at trial). According to
        Special Agent Amy Nye, the victim “saw a number of firearms that were being
        carried, loaded, and passed among the eight men inside the house” where she and
        her child were held. (RE 132, Plea Tr. 19, Page ID # 437). Special Agent Nye
        further testified that Villa-Rodriguez was left in control of the hostages and two
        firearms: “It was agreed amongst the men that Guadalupe Villa Rodriguez would
        remain inside the house with [the victim], the child, and two remaining rifles
        while the other five men would leave to meet with [the victim’s husband].” (Id. at
        20, Page ID # 438). Villa-Rodriguez agreed that the agent’s statement of facts was
        “true and correct in all material respects.” (Id. at 22, Page ID # 440). The district
        court did not err, let alone plainly err, in determining that there was a sufficient
        factual basis for Villa-Rodriguez’s guilty plea.

 Id. Petitioner has failed to point to an intervening change in the law since the Sixth Circuit issued

 this decision, nor has he established any other exceptional circumstance. To the extent that

 Petitioner seeks to raise in this Court the same claim presented to and rejected by the Sixth

 Circuit, then, he may not re-litigate that claim in the current Motion to Vacate. See DuPont, 76

 F.3d at 110.

                                  Ineffective Assistance of Counsel

        To the extent that Petitioner’s current claim of ineffective assistance of counsel may be

 construed as different from the claim presented in his direct appeal, that claim fares no better.

 Petitioner alleges that his trial counsel was ineffective in advising Petitioner to plead guilty

 because there was not a factual basis for the plea and because he did not possess a firearm. The

 Sixth Amendment to the United States Constitution guarantees a criminal defendant the right to

 the effective assistance of counsel. Strickland v. Washington, 466 U.S. 668, 686 (1984). In order

 to prevail on a claim of ineffective assistance of counsel, a petitioner must demonstrate both that

 counsel's performance was deficient, or that counsel “made errors so serious that counsel was not

 functioning as the 'counsel' guaranteed” by the Sixth Amendment, and that this deficient

 performance prejudiced the petitioner. Id. at 687. This showing requires that defense counsel's

 errors were so serious as to deprive the defendant of a fair and reliable trial. Id.

                                                   5
Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 6 of 12 PAGEID #: 1119




        “Surmounting Strickland's high bar is never an easy task.” Padilla v. Kentucky, 599 U.S.

 356, 371 (2010). Given the difficulties inherent in determining whether an attorney's

 performance was constitutionally deficient, “a court must indulge a strong presumption that

 counsel's conduct falls within the wide range of reasonable professional assistance. . . .”

 Strickland, 466 U.S. at 689. Nevertheless, “[a]n error by counsel, even if professionally

 unreasonable, does not warrant setting aside the judgment of a criminal proceeding if the error

 had no effect on the judgment.” Id. at 691. In order to establish prejudice, a petitioner must

 demonstrate a reasonable probability that, but for counsel's errors, the result of the proceedings

 would have been different. Id. at 694. “A reasonable probability is a probability sufficient to

 undermine confidence in the outcome.” Id. Because a petitioner must satisfy both prongs of

 Strickland in order to demonstrate the ineffective assistance of counsel, should a court determine

 that the petitioner has failed to satisfy one prong, it need not consider the other. Id. at 697.

        A defendant may challenge the entry of a plea of guilty on the basis that counsel's

 ineffectiveness prevented the plea from being knowing and voluntary. Tollett v. Henderson, 411

 U.S. 258, 267 (1973). Strickland’s two part test of deficient performance and prejudice also

 applies to challenges to guilty pleas based on a claim of ineffective assistance of counsel. Hill v.

 Lockhart, 474 U.S. 52, 59 (1985); Sparks v. Sowders, 852 F.2d 882, 884 (6th Cir.1988). In order

 to establish prejudice in the context of a guilty plea, “the defendant must show that there is a

 reasonable probability that, but for counsel’s errors, he would not have pleaded guilty and would

 have insisted on going to trial.” Hill v. Lockhart, 474 U.S. at 58-59.

        Petitioner asserts that his trial attorney performed in a constitutionally ineffective manner

 because he failed to advise him that the government lacked a factual basis for his guilty plea and

 could not have established Petitioner’s possession of a firearm. The record belies this assertion.



                                                   6
Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 7 of 12 PAGEID #: 1120




        It must be remembered that the Indictment (ECF No. 1) charged Petitioner with fourteen

 (14) serious felony counts. Petitioner pled guilty, pursuant to the Plea Agreement (ECF No. 80),

 to only Count 13, which charged him with possession of a handgun while being an alien illegally

 in the United States. At his change of plea proceeding, see Transcript of Plea Proceedings (ECF

 No. 132), Petitioner testified under oath, see id. (PageID# 424), that he had discussed with his

 attorney - with the assistance of an interpreter - the charges against him and that he understood

 the nature and meaning of the offense to which he was pleading guilty. Id. (PageID #422-23).

 He had told his attorney everything he knew about the case against him and he believed that his

 attorney was fully informed about the facts and circumstances on which the charge was based.

 His attorney had fully advised him as to any potential defenses to the charge. Id., (PageID #426-

 27). He was satisfied with his attorney’s advice and representation. Id., (PageID #427). The

 Court advised petitioner of the elements of the offense to which he pleaded guilty:

                THE COURT: Every criminal offense has certain elements, or basic facts,
        that the government must prove by competent evidence beyond a reasonable doubt
        before a jury could find you guilty. In this case, the elements of the offense of
        possession of a firearm by an illegal alien are as follows: First, the defendant is an
        alien who was illegally and unlawfully in the United States;
                Second, that the defendant knowingly possessed a firearm;
                Third, the firearm had been shipped and transported in interstate commerce,
        and;
                Fourth, these acts occurred within the Eastern Division of the Southern
        District of Ohio on or about the time set forth in the indictment.

 Id., (PageID #428). Petitioner expressly stated that he understood that these are the elements of

 the offense with which he was charged. Id. Petitioner indicated that he was pleading guilty of his

 own free will and volition; he denied that he had been threatened or forced into entering the

 guilty plea. Id., (PageID #435).

        An investigating agent summarized the facts underlying the case as follows:




                                                 7
Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 8 of 12 PAGEID #: 1121




       On December 14th, 2009, Matias Gallegos-Villagomez and Guadalupe Villa
       Rodriguez traveled in two cars along with six other men, to attempt to locate
       Manuel Hernandez. Several weeks prior, Hernandez had stolen a kilo of cocaine
       that had been delivered to him by Mauricio Martinez Diaz. The defendants were
       now looking for Hernandez to obtain the money he owed to Augustin, aka Pedro,
       for these drugs. In the early evening, in an area just north of Morse Road around
       Urban Drive and Kingshill Drive, the men saw Hernandez and a shootout ensued.
       Hernandez fled but the men were able to follow a light blue Dodge Caravan being
       driven by Monica Barrera, the girlfriend of Hernandez. Their three-year-old
       daughter was also in the vehicle.

       Shortly thereafter, the eight men in both cars were able to block Barrera’s car and
       several men made entry into their vehicle with guns drawn. The men forced
       Barrera out of the driver’s seat and then covered her eyes. The Dodge Caravan
       was then driven to 2166 Gaver Lane, the residence of Augustin. Barrera and
       her daughter were taken inside the residence and the Dodge Caravan was
       driven away from the scene and left in a parking lot on the west side of
       Columbus.

       While inside the house, a series of phone calls were made to Hernandez by
       Augustin demanding $20,000 to $30,000 in payment for the safe release of
       Barrera and the child.

       Though Barrera and the child were not shackled or restrained, they also were not
       free to leave the house. During this time, Barrera also saw a number of firearms
       that were being carried, loaded, and passed among the eight men inside the house.
       By 10 p.m. that evening, law enforcement had become aware of this incident and
       set up surveillance on the house at 2166 Gaver Lane.

       Around 10:45 p.m., Martin and Mauricio left the residence and entered a
       Volkswagen Jetta, Ohio license plate EYE-4081 that belonged to another of the
       remaining men. When going to this vehicle, Martin was carrying a loaded
       Ejercito Argentino, .45 caliber pistol bearing serial number 27222. Mauricio
       agreed to drive the Jetta, and Martin placed the handgun under the driver’s seat.
       Officers with the Columbus Police Department observed the Volkswagen Jetta
       leaving the residence and arranged for it to be stopped, and both men were
       arrested. The .45 caliber pistol was seized after it was found sticking out from
       under the driver’s seat. This gun was manufactured in Argentina and had been
       imported into the state of Virginia.

       Meanwhile, inside the residence, negotiations with Hernandez had concluded
       and the remaining six men made plans to leave the residence to attempt to
       meet with him. It was agreed amongst the men that Guadalupe Villa
       Rodriguez would remain inside the house with Barrera, the child, and two
       remaining rifles while the other five men would leave to meet with



                                               8
Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 9 of 12 PAGEID #: 1122




        Hernandez. At 12:50 a.m. on December 15, 2009, Matias, along with the
        other five men, left the residence.

        The men were armed with a loaded Ruger P95DC, a 9mm handgun, a loaded
        Haskel .45 caliber handgun, and Matias Gallegos-Villagomez carried a loaded
        sawed-off Remington 870 Wingmaster shotgun. All five men entered a black
        Ford F-150 pickup and left the residence. CPD officers stopped the vehicle and
        arrested Matias and the four other men. Officers immediately noticed and seized
        the sawed-off Remington shotgun which was in plain view on the floor of the
        interior of the pickup truck. This Remington shotgun, bearing serial number
        T641539, was manufactured in the state of New York. Officers also seized the
        loaded Ruger and Haskel firearms from inside the pickup truck. Augustin was
        found in possession of Barrera’s Mexican identification card and a digital
        memory card from her camera.

        Ultimately, a search warrant was executed at 2166 Gaver Lane around 6 a.m. on
        December 15th 2009, and Barrera and her child were safely recovered and
        Guadalupe Villa Rodriguez were [sic] arrested.

        Inside the residence, officers found a Mosin-Nagant Model 1944 rifle bearing
        serial number RH588/13598, and a Feather Industries Model AT-9 rifle
        bearing serial number A90355. ATF determined that the Mosin-Nagant rifle
        was manufactured in Russia and imported through the state of Illinois, while
        the Feather Industries rifle was manufactured in the state of [] Colorado.
        Therefore, both weapons had previously traveled in interstate commerce.

        ICE also determined that defendants Matias Gallegos-Villagomez and
        Guadalupe Villa Rodriguez were citizens of Mexico and they were illegally
        within the United States.

        Id. (PageID# 436-39)(emphasis added). The emphasized portions of that statement

 establish the elements of the offense to which Petitioner pleaded guilty, including the element of

 either actual or constructive possession of firearms. See United States v. Campbell, 549 F.3d 364,

 374 (6th Cir. 2008). Petitioner agreed that that statement was “true and correct in all material

 respects.” Transcript of Plea Proceedings (PageID# 440). He admitted his guilt to the charge

 because he was “in fact, guilty of the offense. . . .” Id., The Court accepted Petitioner’s plea of

 guilty to the offense of possession of a firearm by an illegal alien after finding, without objection,




                                                   9
Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 10 of 12 PAGEID #: 1123




 that Petitioner’s plea was “a knowing and voluntary plea supported by an independent basis in

 fact containing each of the essential elements of the offense.” Id. (PageID# 441).

          A criminal defendant's solemn declaration of guilt carries a presumption of truthfulness.

 Henderson v. Morgan, 426 U.S. 637, 648 (1976). Based on this record, Petitioner will not now

 be heard to deny the facts to which he agreed under oath.

          It is significant, too, that Petitioner did not challenge his counsel’s performance on this

 basis in his first motion to vacate under § 2255.1 At the evidentiary hearing held in connection

 with that filing, Petitioner – who was proceeding at that point with the assistance of different

 counsel – did not dispute the facts underlying the charge to which he pleaded guilty. See Report

 and Recommendation (ECF No. 215, PageID# 924-25). Moreover, he testified that he had met

 with his attorney approximately six (6) times prior to trial and that his attorney had discussed the

 charges against Petitioner. See id. (PageID# 924). His trial attorney testified that he had reviewed

 with Petitioner, with the assistance of an interpreter, the charges against him and the evidence in

 the case. See id. (PageID# 926). See also Affidavit of W. Joseph Edwards, ¶ 9 (ECF No. 171-1,

 PageID# 728)(“The evidence against [Petitioner]was incredibly strong and I believe his plea to

 Count 13 of the Indictment was in his best interest. Further, I believe that Mr. Villa-Rodriguez

 entered his plea of guilty knowingly, voluntarily, and intelligently.”)

          In light of this record, and as the Sixth Circuit has already held, there was a sufficient

 factual basis for Petitioner’s guilty plea. United States v. Guadalupe Villa-Rodriguez, No. 14-

 3214. Petitioner has therefore failed to establish that his counsel acted deficiently in advising him

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   In his first Motion to Vacate, Petitioner asserted three claims of ineffective assistance of trial counsel: that his
 counsel coerced his guilty plea by assuring petitioner that he would be sentenced to no more than five years
 incarceration if he pleaded guilty (claim one); that his attorney failed to object to an increase in the sentence
 recommended under U.S.S.G. § 2A4.1, failed to provide petitioner with discovery materials, failed to conduct
 adequate research and investigation in regard to the filing of pre-trial motions and failed to file a
 sentencing memorandum (claim two); that his attorney failed to file an appeal after having been requested to do so
 (claim three).

                                                           10
Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 11 of 12 PAGEID #: 1124




 to plead guilty because there was not a factual basis for that plea. See Mapes v. Coyle, 171 F.3d

 408, 413 (6th Cir.1999) (“[T]here can be no constitutional deficiency in . . . counsel's failure to

 raise meritless issues.”). The Court also concludes that Petitioner has failed to establish that, on

 this record, he has established that, but for his counsel’s advice, he would not have pleaded

 guilty to Count 13 of the Indictment, but would instead have gone to trial on all fourteen (14)

 counts of the Indictment in which he was charged.

        For all these reasons, it is RECOMMENDED that the Motion to Vacate (ECF No. 247),

 be dismissed.


        If any party objects to this Report and Recommendation, that party may, within fourteen

 (14) days of the date of this report, file and serve on all parties written objections to those

 specific proposed findings or recommendations to which objection is made, together with

 supporting authority for the objection(s). A judge of this Court shall make a de novo

 determination of those portions of the report or specified proposed findings or recommendations

 to which objection is made. Upon proper objections, a judge of this Court may accept, reject, or

 modify, in whole or in part, the findings or recommendations made herein, may receive further

 evidence or may recommit this matter to the magistrate judge with instructions. 28 U.S.C. §

 636(b)(1).

        The parties are specifically advised that failure to object to the Report and

 Recommendation will result in a waiver of the right to have the district judge review the Report

 and Recommendation de novo, and also operates as a waiver of the right to appeal the decision of

 the District Court adopting the Report and Recommendation. See Thomas v. Arn, 474 U.S. 140,

 106 S.Ct. 466 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




                                                 11
Case: 2:10-cr-00225-ALM-NMK Doc #: 256 Filed: 10/27/16 Page: 12 of 12 PAGEID #: 1125




        The parties are further advised that, if they intend to file an appeal of any adverse

 decision, they may submit arguments in any objections filed, regarding whether a certificate of

 appealability should issue.

                                                            s/ Norah McCann King
                                                           Norah McCann King
                                                           United States Magistrate Judge


 October 27, 2016




                                               12
